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                                BEFORE THE UNITED STATES
                       JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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                                                                                    RECEIVED CLERK
       In re: Route 91 Harvest Festival Shootings                         MDL NO.
                                                                                       JUL 2 3 2018
                                                                                    U.S. DISTRICT COURT
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                       MGM'S MOTION TO TRANSFER AND CENTRALIZE
                               PURSUANT TO 28 U.S.C. § 1407




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       RESORT GROUP, MGM RESORTS
       VENUE MANAGEMENT, LLC, and
       MGM RESORTS FESTIVAL GROUNDS LLC
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       MGM Resorts International, Mandalay Bay, LLC, Mandalay Resort Group, MGM

Resorts Venue Management, LLC and MGM Resorts Festival Grounds, LLC (together, "MGM")

respectfully move the United States Judicial Panel on Multidistrict Litigation for an order

transferring all Actions arising out of the Route 91 Harvest Festival shooting on October 1, 2017,

set forth in the attached Schedule of Actions, to a single district court for coordinated pretrial

proceedings pursuant to 28 U.S.C. § 1407.

       The Panel should enter this order for the following reasons, which are fully set forth in

the accompanying memorandum:

        1.     These Actions present common questions of fact relating to who bears

               responsibility for a gunman's murderous rampage;

       2.      Transfer to a single district court for coordinated proceedings will serve the

               convenience of the parties and witnesses by preventing duplicative discovery and

               motion practice and inconsistent rulings by different courts;

        3.     Transfer to a single district court for coordinated proceedings will promote the

               just and efficient conduct of this litigation by eliminating the need to litigate

               identical factual and legal issues across numerous cases, thereby conserving the

               resources of the parties and the judiciary;

        4.     MGM takes no position on where these Actions should be transferred but, in the

               interest of providing the Panel with full information, notes that the Central

               District of California, where the vast majority of Plaintiffs, Defendants, and

               counsel reside, has the plurality of the Actions filed to date. Two Actions are

               pending in the District of Nevada, where the incident occurred and where MGM

               re.sides. Other declaratory relief actions are pending in the District of Alaska,



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               District of Arizona, Southern District of Florida, Southern District of New York,

               Southern District of Texas, and District of Utah.

       WHEREFORE, MGM respectfully asks the Panel to issue an order transferring all

Actions arising out of the Route 91 Harvest Festival shooting on October 1, 2017 to a single

district court for coordinated pretrial proceedings pursuant to 28 U.S.C. § 1407.



DATED:     July 19, 2018

                                             Respectfully Submitted,


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